Case 2:16-cv-04536-ES-MAH Document 44 Filed 01/19/18 Page 1 of 4 PageID: 446




                                   UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF NEW JERSEY


                                                          Civil Action No.: 2:16-cv-04536-WJM-MF
     MICHAEL dOFFI,

                                   Plaintiff,
                                                                            Civil Action

     BOROUGH OF ENGLEWOOD CLIFFS,                                      FIRST AMENDED
     MARIO M. KRANJAC (In his Official and                           SCHEDULING ORDER
     Individual Capacities), CARROL McMORROW
     (in her Official and Individual Capacities),
     NUNZIO CONSALVO (In his Official and
     Individual Capacities), MARK PARK (In his
     Official and Individual Capacities), (In his
     Official and Individual Capacities),

                                    Defendants.



             THIS MATTER having come before the Court for a scheduling conference pursuant to
     Rulel6 of the federal Rules of Civil Procedure on October 25, 2017 before the Honorable Mark
     Falk, U.S.M.J., and for good cause shown:

             ITISonthis                  day of January, 2018

             ORDERED THAT:

                                                I. DISCLOSURES

            1.      fed. R. Civ. P. 26 disclosures have been exchanged and must be updated to
      address any new claims asserted by the Plaintiff. Any updates must be served by on or before
      January 31, 2018.

                                                II. DISCOVERY

             2.       Fact discovery is to remain open through August 31, 2018. No discovery is to be
      issued or engaged in beyond that date, except upon application and for good cause shown.

              3.         In the event Plaintiff is permitted to file a Second Amended Complaint, the
      parties may serve interrogatories limited to five (5) single questions and twenty-five (25) requests
      for production of documents related to the new counts contained in the Second Amended Complaint,
      to supplement the interrogatoñes and requests for production already exchanged. Said requests must be
Case 2:16-cv-04536-ES-MAH Document 44 Filed 01/19/18 Page 2 of 4 PageID: 447




      sewed by on or before february 1, 2018 and responses to same will be due within thirty (30)
      days of receipt.

              4.       No objections to questions posed at depositions shall be made other than as to
      lack of foundation, form, or privilege. $ fed. R. Civ. P. 32(d) (3) (A). No instruction not to
      answer shall be given unless a privilege is implicated.

              5.          Any discovery dispute shall be brought to the Court’s attention in the first
      instance by letter or by telephone conference call immediately after the parties’ good faith attempt
      to resolve the dispute has failed.    L. Civ. R. 16.1(f)(1).

              6.       No discovery motion or motion for sanctions for failure to provide discovery
      shall be made without prior leave of Court.

              7.       Any discovery or case management dispute shall be raised informally as provided
      for in Local Civil Rule 37.1, following an actual meet-and-confer by the parties. If the parties are
      unable to agree, a short letter maybe FAXED to chambers at 973-645-3097 indicating that there isa
      dispute and the subject matter of the dispute. Detailed, multi-page letters should not be
      submitted. Upon receipt of any such letter, the Court will attempt to schedule a telephone
      conference within 24 hours to discuss the details of the dispute and make a more specific plan for
      how it should be addressed (e.g., formal motion, informal briefing, in-court meet and confer, etc.).
      Any letter submitted should be double spaced.

              8.      Any unresolved discovery disputes (other th those that arise during depositions)
      must be brought before the Court no later than                 1, 2018, and the Court will not
      entertain applications concerning discovery matters, informally or otherwise, after this date.


                            III. DISCOVERY CONFIDENTIALITY ORDERS

              9.      The parties should submit any proposed discovery confidentiality order by
      January 31, 2018. Any confidentiality order submitted must strictly comply with Local Civil Rule
      5.3. Any such form of order must be accompanied by an affidavit or attorney certification filed
      electronically under the designation “affidavit/certification in support of discovery confidentiality
      order.” The affidavit or attorney certification shall describe (a) the nature of the materials to be kept
      confidential, (b) the legitimate private or public interests which warrant confidentiality and (c) the
      clearly defined and serious injury that would result should the order not be entered. Any such order
      must be clearly designated “Discovery Confidentiality Order.” $ç L. Civ. R. 5.3.

              10.    Any disputes over the entry of a discovery confidentiality order should be raised with
      the Undersigned pursuant to Local Civil Rule 37.1 following a good faith effort to meet and confer.
      $çç L. Civ. R. 5.3(b)(5); I. Civ. R. 37.1. The absence of a discovery confidentiality order is not
        sufficient basis to withhold discovery. Pending the entry of a discovery confidentiality order
      andlor during the pendency of any dispute relating to the entry of a discovery confidentiality
      order, discovery shall proceed on a temporary attorney’s eyes only basis.

                                                         2
Case 2:16-cv-04536-ES-MAH Document 44 Filed 01/19/18 Page 3 of 4 PageID: 448




                                     IV. FUTURE CONFERENCES

            11.      There shall be telephone status conference before the Undersied on
      at             Plaintiff’s counsel shall arrange for and initiate the conference call.

             12.     The Court may from time to time schedule conferences as may be required, either
      sua sponte or at the request of a party.

              13.   Counsel should be prepared to discuss settlement at every conference with the Court.
      The senior attorney in charge of the case must attend all settlement conferences. In cases
      involving insurance companies and other corporate or business entities, it is expected that the
      executive who will make the final decision on the settlement will be the person available for the
      conference.

             14.      Since all dates set forth herein are established with the assistance and knowledge
      of counsel, there will be no extensions except for good cause shown and by leave of Court, even
      with consent of all counsel.

              15.       A copy of every pleading, document or written communication with the Court
      shall be served on all other parties to the action. Any such communication which does not
      recite or contain a certification of such service maybe disregarded by the Court.


                                               V. MOTIONS

             16.      Any motion to add new parties, whether by amendment or third-party complaint,
      must be filed on or before May 1, 2018.

             17.      No motions are to be filed without prior written permission from this Court.
      All dispositive motions must first be subject to a dispositive motion pre-hearing. These
      prerequisites must be met before any motions are filed and the motions will be returned if not
      met. All calendar or dispositive motions, ifpennitted, shall comply with L Civ. R. 7.1 and 78.1.

             18.     Dispositive motions, if any, are to be filed by 70


                                              VI. EXPERTS

              19.         All affirmative expert reports shall be delivered by October 15, 2018, with
      depositions of those experts to be taken and completed within thirty (30) days of receipt of
      report. See Fed. R. Civ. P. 26(b) (4) (A). Any such report is to be in the form and content as
      required by fed. R. Civ. P. 26(a) (2) (B).



                                                      3
Case 2:16-cv-04536-ES-MAH Document 44 Filed 01/19/18 Page 4 of 4 PageID: 449




              20.     All responding expert reports shall be delivered by November 15, 2018, with
      depositions ofthose experts to be taken and completed within thirty (30) days of receipt of report.
      Any such report shall be in the form and content as described above.

             21.       No expert shall testify at trial as to any opinions or base those opinions on facts
      not substantially disclosed in his report.


                                 VII. FINAL PRETRIAL CONFERENCE

             22.      A final pretrial conference shall be conducted pursuant to Civil Rule 16(d) at a
      time and date to be assigned.

              23.        All counsel are directed to assemble at the office of plaintiffs counsel not later
      than ten (10) days before the pretrial conference to prepare the proposed Final Pretrial Order in the
      form and content required by the Court, as well as the required pretrial submissions consisting of
      agreed- upon jury instructions, voir dire questions, verdict sheet, trial briefs and a neutral
      statement of the case to be read to the jury panel, all of which must be submitted forty-eight (48)
      hours before the final pretrial conference. Plaintiffs counsel shall prepare the Pretrial Order and
      shall submit it to all other counsel for approval.

             24.     With respect to non-jury trials, each party shall submit to the District Judge and
      to opposing counsel proposed Findings of Fact and Conclusions of Law, trial briefs and any
      hypothetical questions to be put to an expert witness on direct examination.

             25.       The original of the Final Pretrial Order shall be delivered to Chambers not later
      than forty-eight (48) hours before the pretrial conference, along with all pretrial submissions
      and trial briefs. All counsel are responsible for the timely submission of the Pretrial Order and
      submissions.

           26.  FAILURE TO FOLLOW THIS ORDER WILL RESULT IN SANCTIONS
      PURSUANT TO Fed. R. Civ. P. 16(f) and 37.




                                                            United States Magistrate Judge




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